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        EXHIBIT 7
          Case:
           Case22-16632, 08/14/2023,
                23-11131-TMH     Doc ID: 12773870,
                                     1197-5   Filed DktEntry:
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                     UNITED STATES COURT OF APPEALS                      FILED
                            FOR THE NINTH CIRCUIT                        AUG 14 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
ANDREW E. ROTH,                                 No.   22-16632

                 Plaintiff-Appellee,            D.C. No. 4:21-cv-04288-YGR
                                                Northern District of California,
 v.                                             Oakland

FORIS VENTURES, LLC; et al.,                    ORDER

                 Defendants-Appellants.


ANDREW E. ROTH,                                 No.   22-16633

                 Plaintiff-Appellant,           D.C. No. 4:21-cv-04288-YGR

 v.

FORIS VENTURES, LLC; et al.,

                 Defendants-Appellees.

Before: WARDLAW and M. SMITH, Circuit Judges, and RAYES,* District
Judge.

      The court has received appellant Amyris, Inc.’s (Amyris) notice of pendency

of bankruptcy case. See Dkt. No. 48.

      Appellate proceedings are stayed for Amyris only, due to the automatic stay

imposed pursuant to 11 U.S.C. § 362. See Cohen v. Stratosphere Corp., 115 F.3d


      *
             The Honorable Douglas L. Rayes, United States District Judge for the
District of Arizona, sitting by designation.
        Case:
         Case22-16632, 08/14/2023,
              23-11131-TMH     Doc ID: 12773870,
                                   1197-5   Filed DktEntry:
                                                  01/23/24 49, Page
                                                            Page    2 of
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695, 697 (9th Cir. 1997).

      On or before October 13, 2023, Amyris shall file a status report concerning

the bankruptcy proceeding. The status report should include: the court and case

number of the bankruptcy proceeding; whether any party to these cross-appeals has

sought or received relief from the automatic stay; and the projected termination

date of the automatic stay, if known.

      These cross-appeals will proceed as to the remaining parties.




                                         2
